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10
10    Attorneys for Official Committee of Equity Security Holders
11
11
                                UNITED STATES BANKRUPTCY COURT
12
12                               CENTRAL DISTRICT OF CALIFORNIA
                                  SAN FERNANDO VALLEY DIVISION
13
13
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
14
14                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15    corporation,1
                                                          Chapter 11 Cases
16
16              Debtor and Debtor in Possession.
                                                          JOINT   MOTION   FOR    ORDER
17
17    In re:                                              GRANTING STANDING TO PURSUE
                                                          CLAIMS FOR THE BENEFIT OF THE
18
18    ICPW Liquidation Corporation, a Nevada              DEBTORS’     ESTATES;     AND
      corporation,2                                       APPROVING         STIPULATION
19
19
                Debtor and Debtor in Possession.          BETWEEN DEBTORS AND EQUITY
20
20                                                        COMMITTEE GRANTING STANDING;
          Affects:                                        MEMORANDUM OF POINTS AND
21
21                                                        AUTHORITIES; DECLARATION IN
            Both Debtors                                  SUPPORT
22
22
          ICPW Liquidation Corporation, a California DATE:          December 12, 2017
23
23    corporation
                                                     TIME:          1:30 p.m.
24
24        ICPW Liquidation Corporation, a Nevada     PLACE:        Courtroom “303”
      corporation.                                                 21041 Burbank Blvd.
25
25                                                                 Woodland Hills, CA 91367
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

                                                      1
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 11          ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad

 22   Performance Wear Corporation, a California corporation, ICPW Liquidation Corporation, a

 33   Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

 44   corporation (collectively, the “Debtors”), and the Official Committee of Equity Holders (the

 55   “Equity Committee”), hereby jointly move for an order: (1) granting leave, standing, and

 66   exclusive authority to the Equity Committee to assert, prosecute and/or settle on behalf of the

 77   Debtors’ estates, subject to Court approval, any and all claims, objections and causes of action

 88   against Jeffrey Cordes and William Aisenberg, and counter claims and defenses against any of

 99   the claims asserted by Mr. Cordes and Mr. Aisenberg, including those claims asserted in their
10
10    proofs of claim against the Debtors; and (2) approving that certain Stipulation Granting Standing
11
11    To Pursue Certain Estate Based Claims For The Benefit Of The Debtors’ Estates (the
12
12    “Stipulation”) filed concurrently herewith.
13
13                       MEMORANDUM OF POINTS AND AUTHORITIES
14
14                               I. STATEMENT OF RELEVANT FACTS
15
15    A.     Background Information.
16
16           1.      On September 8, 2017 (“Petition Date”), the Debtors each filed a Voluntary
17
17    Petition for relief under Chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtors
18
18    have operated their businesses and managed their affairs as debtors in possession pursuant to
19
19    Sections 1107 and 1108 of the Bankruptcy Code. With the Court’s approval, the Debtors two
20
20    chapter 11 cases are being jointly administered.
21
21           2.      On September 20, 2017, the Office of the United States Trustee filed its Notice of
22
22    Appointment of Official Committee of Equity Holders.
23
23           3.      The Debtors filed their bankruptcy cases to consummate a sale of substantially all
24
24    of their assets (excluding cash and causes of action) for the most money possible. On October
25
25    30, 2017, the Debtors conducted a sale auction which resulted in a winning bidder and a backup
26
26    bidder approved by the Bankruptcy Court.           Brighton-Best International, Inc. (“BBI”) was
27
27    determined by the Court to be the winning bidder.
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28

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 11          4.      On November 3, 2017, the Court entered an order approving a sale to BBI. The

 22   sale to BBI closed on November 14, 2017. The proceeds generated from the sale are sufficient

 33   to pay all creditors in full and provide distributions to shareholders in these cases.

 44   B.     The Former Officers’ Claims.

 55          5.      On September 7, 2017, Jeffrey Cordes and William M. Aisenberg (the “Former

 66   Officers”) submitted an arbitration demand to JAMS in connection with alleged breaches of

 77   certain employment agreements and related documents, which initiated a proceeding before the

 88   American Arbitration Association (“AAA”),

 99          6.      The Former Officers filed proofs of claims against the Debtors on October 3,
10
10    2017, which are denominated in the Bankruptcy Court’s files as Claims No. 7 and 8
11
11    (collectively, the “Proofs of Claim”);
12
12           7.      The Former Officers filed the Motion Of Jeffrey Cordes And William M.
13
13    Aisenberg For Relief From The Automatic Stay Under 11 U.S.C. [§] 362(Action In
14
14    Nonbankruptcy Forum) (the “Relief From Stay Motion”), as Docket No. 132, and the Debtors’
15
15    filed the opposition (the “Opposition”) thereto, as Docket No. 169, and the Equity Committee
16
16    filed a joinder therein, as Docket No. 168,
17
17           8.      On October 15, 2017, the Court temporarily denied the Relief From Stay Motion
18
18    and set related deadlines, including for the Debtors’ estates and/or the Equity Committee to file
19
19    an adversary proceeding and claim objections against the Former Officers.
20
20           9.      The Debtors have or may have claims, objections and causes of action against the
21
21    Former Officers (collectively, the “Claims”), and counter claims and defenses against any of the
22
22    claims asserted by the Former Officers (the “Defenses”), including those claims asserted in the
23
23    Proofs of Claim. The Claims are currently being investigated and evaluated, and involve, among
24
24    other things, the Former Officers’ failure to provide materially complete financial information.
25
25           10.     Specifically, on June 29, 2017, the Audit Committee of the Debtors’ Board of
26
26    Directors (the “Audit Committee”) concluded that disclosure should be made and action taken to
27
27    prevent further reliance on the Debtors’ financial statements as of and for the fiscal years ended
28
28    December 31, 2016 and 2015, and as of and for the fiscal quarters ended March 31, 2017 and

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 11   March 31, June 30 and September 30, 2016. See 8-K filed with Securities and Exchange

 22   Commission, on June 29, 2017 (the “8-K Report”).

 33          11.    The 8-K Report provides that during the second quarter of fiscal year 2017, the

 44   Debtors received anonymous reports regarding potential accounting irregularities relating to

 55   certain sale transactions (the “Subject Transactions”). The Debtors have subsequently

 66   determined that the Subject Transactions affect the periods as of and for the fiscal years ended

 77   December 31, 2016 and 2015, and as of and for the fiscal quarters ended March 31 and June 30,

 88   2016 (collectively, the “Subject Periods”), and that the corresponding roll-over effect of these

 99   misstatements resulting from the Subject Transactions in the Subject Periods also affect the
10
10    Debtors’ financial statements as of and for the fiscal quarters ended September 30, 2016 and
11
11    March 31, 2017. See 8-K Report.
12
12           12.    The 8-K Report further provides that over the course of approximately six weeks,
13
13    a consultant retained by the Debtors identified previously undisclosed information pertaining to
14
14    certain recorded sales that preliminarily indicate that the Subject Transactions should not have
15
15    been recorded in the Subject Periods. Based upon the review conducted by the consultant and the
16
16    Audit Committee, which are not yet complete or definitive, the Debtors believe the items in
17
17    question improperly (increased) reduced, for the quarter ended March 31, 2017 and the years
18
18    ended December 31, 2016 and 2015, revenues by approximately $292,000 (or approximately
19
19    6.6%), ($844,000) (or approximately -3.4%) and ($1,390,000) (or approximately -5.9%), gross
20
20    profit by approximately $86,000 (or approximately 5.5%), ($322,000) (or approximately -3.6%)
21
21    and ($402,000) (or approximately -4.9%), and operating loss and net loss by approximately
22
22    ($86,000), $6,000 and $402,000, respectively. See 8-K Report.
23
23           13.    Therefore, on June 29, 2017, the Audit Committee concluded that the Debtors’
24
24    financial statements as of and for the fiscal years ended December 31, 2016 and 2015, and as of
25
25    and for the fiscal quarters ended March 31, 2017 and March 31, June 30 and September 30, 2016
26
26    should no longer be relied upon due to the misstatements resulting from the Subject Transactions
27
27    in the Subject Periods and the corresponding roll-over effect of these misstatements outside the
28
28    Subject Periods. See 8-K Report.

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 11          14.     On July 4, 2017, the Former Officers resigned from their respective positions as

 22   officers (and in the case of Mr. Cordes, as a director) of the Debtors.

 33          15.     The Debtors and the Equity Committee believe that the foregoing facts give rise

 44   to claims against the Former Officers. The Debtors and the Equity Committee have agreed,

 55   subject to Court approval, that the Debtors would grant the Equity Committee standing to assert,

 66   prosecute, and/or settle any and all of the Debtors’ Claims and Defenses on behalf of the

 77   Debtors’ estates in the AAA Proceeding, the Bankruptcy Court, and/or any other forum.

 88          16.     Conferring standing upon the Equity Committee will allow the Debtors to focus

 99   their resources and efforts on preparing and proposing a plan in these cases, and focusing their
10
10    efforts upon reviewing and reconciling all other proofs of claim filed in these cases. Such a
11
11    division of labor between the Debtors and the Equity Committee will benefit the Debtors’
12
12    estates, expedite the administration of the Debtors’ estates, and ensure that the primary
13
13    stakeholders (the shareholders) are involved in resolving the Claims against the Former Officers.
14
14                                          II.     DISCUSSION
15
15           A debtor, or trustee, may stipulate to allow a committee appointed in a case to bring
16
16    actions on behalf of the estate, “[s]o long as the bankruptcy court exercises its judicial oversight
17
17    and verifies that the litigation is indeed necessary and beneficial.” Liberty Mut. Ins. Co. v.
18
18    Official Comm. Of Unsecured Creditors of Spaulding Composites Co. (In re Spaulding
19
19    Composites Co.), 207 B.R. 899, 904 (B.A.P. 9th Cir. 1997) (finding that an unsecured creditors’
20
20    committee had standing to initiate an adversary compliant on behalf of the estate where debtor
21
21    stipulated to confer standing); see also Official Comm. Of Equity Security Holders v. nVidia
22
22    Corporation (In re 3dfx Interactive, Inc.), 2009 WL 223266, at *6 (Bankr. N.D. Cal. Jan. 6,
23
23    2009) (standing to pursue estate’s causes of action conferred upon Equity Committee); Adelphia
24
24    Communications Corp. and Official Committee of Unsecured Creditors v. Bank of America, N.A.
25
25    (In re Adelphia Communications Corp.), 330 B.R. 364 (Bankr. S.D.N.Y. 2005) (granting
26
26    standing to equity committee and creditors’ committee to pursue estate claims).
27
27           Under In re Spaulding Composites Co., a committee may acquire standing to pursue the
28
28    debtor’s claims if (1) the committee has the consent of the debtor in possession or trustee, and (2)

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 11   the court finds that suit by the committee is (a) in the best interest of the bankruptcy estate, and

 22   (b) is “necessary and beneficial” to the fair and efficient resolution of the bankruptcy

 33   proceedings. In re Commodore Int’l Ltd., 262 F.3d 96, 100 (2d Cir. 2001) (adopting Spaulding

 44   and setting forth an approach that “permits a reasoned and practicable division of labor between

 55   the creditors’ committee and the debtor” while also providing for judicial oversight). In addition,

 66   courts also consider additional factors including: (i) whether allowing the committee to pursue

 77   the claim would permit the debtor to concentrate its resources on reorganization; (ii) whether the

 88   committee’s interests conflict with those of these estate; (iii) whether granting the committee

 99   standing would prejudice the equality of distribution among the debtors’ creditors; and (iv)
10
10    whether litigation is consistent with maximization of value of the estate. In re Adelphia
11
11    Communications Corp., 330 B.R. at 375 (citing Spaulding, 207 B.R. at 904). Courts considering
12
12    these factors should conduct a fact-dependent cost-benefit analysis to determine whether the
13
13    committee’s assumption of the debtor’s litigation responsibilities is justified. See Spaulding, 207
14
14    B.R at 904 (explaining that “[a]llowing the DIP to coordinate litigation responsibilities with…a
15
15    committee…can be an effective method for the DIP to manage the estate and fulfill its duties”).
16
16           The Court should approve the Stipulation and grant the Equity Committee standing to
17
17    prosecute the Claims and assert the Defenses, to allow the Debtors to focus on the formulation of
18
18    a plan and administer and reconcile all other claims. For the avoidance of doubt the Debtors and
19
19    the Equity Committee will continue to jointly oppose the RFS Motion.
20
20           Conferring standing upon the Equity Committee will allow the Debtors to focus on their
21
21    efforts in their bankruptcy cases while the Equity Committee, acting in the interests of the
22
22    Debtors’ estates, creditors, and shareholders, prosecutes the Claims. Indeed, the Court has
23
23    directed filing of Claims against the Former Officers by January 26, 2018, in order to, among
24
24    other things, assist the Court in making further determinations on the Relief From Stay Motion.
25
25    Conferring standing to the Equity Committee also makes sense because the Equity Committee
26
26    may have additional claims in a representative or other capacity against the Former Officers.
27
27    Any recovery from bringing the Claims will inure to the benefit of the Debtors’ estates.
28
28    Moreover, the Debtors and the Equity Committee believe that it is in the Debtors’ estates best

                                                       6
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 11                        DECLARATION OF L. GEOFFREY GREULICH

 22          I, L. Geoffrey Greulich, hereby declare as follows:

 33          1.      I am the Chief Executive Officer of ICPW Liquidation Corporation, a California

 44   corporation, formerly known as Ironclad Performance Wear Corporation, a California

 55   corporation (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation,

 66   formerly known as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW

 77   Nevada”, and collectively with ICPW California, the “Debtors”), the debtors and debtors in

 88   possession, in the above-referenced, jointly-administered, Chapter 11 bankruptcy cases, which

 99   each filed a Voluntary Petition for relief under Chapter 11 of the Bankruptcy Code on September
10
10    8, 2017 (“Petition Date”). I became the Debtors’ Chief Executive Officer effective July 6, 2017.
11
11           2.      In that capacity, I have personal knowledge of the facts set forth herein, and, if
12
12    called as a witness, could and would testify competently with respect thereto.
13
13           3.      On September 8, 2017 (“Petition Date”), the Debtors each filed a Voluntary
14
14    Petition for relief under Chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtors
15
15    have operated their businesses and managed their affairs as debtors in possession pursuant to
16
16    Sections 1107 and 1108 of the Bankruptcy Code. With the Court’s approval, the Debtors two
17
17    chapter 11 cases are being jointly administered.
18
18           4.      The Debtors filed their bankruptcy cases to consummate a sale of substantially all
19
19    of their assets (excluding cash and causes of action) for the most money possible. On October
20
20    30, 2017, the Debtors conducted a sale auction which resulted in a winning bidder and a backup
21
21    bidder approved by the Bankruptcy Court.           Brighton-Best International, Inc. (“BBI”) was
22
22    determined by the Court to be the winning bidder.
23
23           5.      On November 3, 2017, the Court entered an order approving, among other things,
24
24    the sale of substantially all of the Debtors’ assets to BBI, and the Asset Purchase Agreement by
25
25    and between the Debtors and BBI. The sale to BBI closed on November 14, 2017. The proceeds
26
26    generated from the sale are expected to pay all creditors in full and provide distributions to
27
27    shareholders in these cases.
28
28

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 11          6.      On September 7, 2017, Jeffrey Cordes and William M. Aisenberg (the “Former

 22   Officers”) submitted an arbitration demand to JAMS in connection with alleged breaches of

 33   certain employment agreements and related documents, which initiated a proceeding before the

 44   American Arbitration Association (“AAA”),

 55          7.      I understand that the Former Officers filed proofs of claims against the Debtors on

 66   October 3, 2017, which are denominated in the Bankruptcy Court’s files as Claims No. 7 and 8

 77   (collectively, the “Proofs of Claim”).

 88          8.      I also understand that the Former Officers filed the Motion Of Jeffrey Cordes And

 99   William M. Aisenberg For Relief From The Automatic Stay Under 11 U.S.C. [§] 362(Action In
10
10    Nonbankruptcy Forum) (the “Relief From Stay Motion”).
11
11           9.      At a hearing held on October 15, 2017, at which I appeared telephonically, the
12
12    Court temporarily denied the Relief From Stay Motion and set related deadlines, including for
13
13    the Debtors’ estates to file an adversary proceeding and claim objections against the Former
14
14    Officers.
15
15           10.     The Debtors have or may have claims, objections and causes of action against the
16
16    Former Officers (collectively, the “Claims”), and counter claims and defenses against any of the
17
17    claims asserted by the Former Officers (the “Defenses”), including those claims asserted in the
18
18    Proofs of Claim. The Claims are currently being investigated and evaluated, and involve, among
19
19    other things, the Former Officers’ failure to provide materially complete financial information.
20
20           11.     Based on my review of the Debtors’ records and public disclosures and filings, on
21
21    June 29, 2017, the Audit Committee of the Debtors’ Board of Directors (the “Audit Committee”)
22
22    concluded that disclosure should be made and action taken to prevent further reliance on the
23
23    Debtors’ financial statements as of and for the fiscal years ended December 31, 2016 and 2015,
24
24    and as of and for the fiscal quarters ended March 31, 2017 and March 31, June 30 and September
25
25    30, 2016. See 8-K filed with Securities and Exchange Commission, on June 29, 2017 (the “8-K
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled JOINT MOTION FOR ORDER GRANTING
      STANDING TO PURSUE CLAIMS FOR THE BENEFIT OF THE DEBTORS’ ESTATES; AND
  4   APPROVING STIPULATION BETWEEN DEBTORS AND EQUITY COMMITTEE GRANTING
      STANDING; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION IN SUPPORT will be
  5   served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
      and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On November 21, 2017, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 14             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 18            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 19
      2. SERVED BY UNITED STATES MAIL: On November 21, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 20   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 21   completed no later than 24 hours after the document is filed.
 22
                                                                              Service information continued on attached page
 23
 24   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 25   on November 21, 2017, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 26   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       November 21, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
  6    Date                                 Type Name                                    Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Ironclad Performance Wear (8300)       Debtor                            United States Trustee
Debtor, OUST, Committees               ICPW Liquidation Corporation      915 Wilshire Blvd., Suite 1850
                                       15260 Ventura Blvd., 20th Floor   Los Angeles, California 90017
                                       Sherman Oaks, CA 91403




Creditors Committee:



Committee Counsel                      Resources Global Professionals    Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                      c/o Brent Waters                  c/o Brian Mitteldorf
Attn: Cathrine M Castaldi              17101 Armstrong Ave               Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl               Irvine, CA 92614                  14226 Ventura Blvd.
Irvine, CA 92612                                                         Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia




Equity Committee:



Equity Committee Counsel               Patrick W O’Brien                 Ronald Chez
Dentons US LLP                         301 Whitmore Lane                 1524 N. Astor Street
Attn: Samuel Maizel & Tania Moyron     Lake Forrest, IL 60045-4707       Chicago, IL 60610
601 South Figueroa St., Suite 2500
Los Angeles, CA 90017-5704

Scott Jarus
938 Duncan Avenue
Manhattan Beach, CA 90266
